Case: 1:18-cv-05866 Document #: 75 Filed: 04/25/19 Page 1 of 2 PagelD #:3612

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
LEVI STRAUSS & CO.,
Case No. 18-cv-05866
Plaintiff,
Judge Charles P. Kocoras
V.
Magistrate Judge Sidney I. Schenkier
A&Z BABY STORE, et al.,
Defendants.

 

 

SATISFACTION OF JUDGMENT

WHEREAS, a judgment was entered in the above action on December 18, 2018 [55], in
favor of Plaintiff Levi Strauss & Co. (““LS&Co.”) and against the Defendants Identified in
Schedule A in the amount of two million dollars ($2,000,000) per Defaulting Defendant for
willful use of counterfeit LEVI’S Trademarks in connection with the offer for sale and/or sale of
products through at least the Defendant Internet Stores, and LS&Co. acknowledges payment of
an agreed upon damages amount, costs, and interest and desires to release this judgment and

hereby fully and completely satisfy the same as to the following Defendant:

 

Defendant Name Line Nos.

 

 

 

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THEREFORE, full and complete satisfaction of said judgment as to the above-referenced
Defendant is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.

 
Case: 1:18-cv-05866 Document #: 75 Filed: 04/25/19 Page 2 of 2 PagelD #:3612

Dated this 25th day of April 2019. Respectfully submitted,

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/Amy C. Ziegler
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Counsel for Plaintiff Levi Strauss & Co.

Subscribed and sworn to me by RiKaleigh C. Johnson, on this 25th day of April 2019.

Given under by hand and notarial seal.

Notary Public.

   

  

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Notary Public Sta
My Commission Expires Nov 20, 2021

 
   
 

State of Illinois
County of Cook

     
